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                                                           U.S. Department of Justice

                                                           Matthew M. Graves
                                                           United States Attomey

                                                           District of Columbia


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                                                        February 6. 2023

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Savannah GA 3 l.+01
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                       It r.':   United Stotes r. Leslie Gral', Capitol Breach Ca.se
                                 Criminal Case No. 22-cr-00338-DLF


Dear counsel:

        This letter sets forth the full and complete plea offer to your client, Leslie Gray
(hereinafter referred to as "your client" or "defendant"). from the Office of the Llnited States
Attomey for the District of Columbia (hereinafter also referred to as "the Govemment'' or ''this
Office"). This plea ofler expires on February 23,2023. lfyourclient accepts the terms and
conditions olthis offer. please have your client execute this document in the space provided
belou'. Upon receipt olthe executed document, this letter rvill become the PIea Agreement
(hereinafter referred to as "this Agreement"). The terms ofthe offer are as follows:

        l.      Charses and Sta tuton Penalties

       Your client agrees to plead guilry to Count Three in the lndictment filed on October 12,
2022, charging your client with Obstruction of an Official Proceeding in violation of Title I 8
U.S.C. $ 1 st2(c)(2) and 2.

         Your client understands that a violation of Title l8 U.S.C. $ l5l2(c)(2) and 2 carries a
maximum sentence of 20 years of imprisonment: a fine of $250.000 or twice the pecuniarv gain
or loss ofthe offense, pursuant to l8 U.S.C. $ 3571(b)(3); a term ofsupervised release ofnot
more than 3 years. pursuant to I8 U.S.C. g 3583(b)(2): and an obligation ro pay any applicabte
interest or penalties on fines and restitution not timely made.

        ln addition, your client agrees to pay a special assessment of $ 100 per felony conviction
to the Clerk of the United States District Court for the District of Columbia. Your ilient also



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understands that. pursuant to I 8 U.S.C. $ 3572 and $ 5E1.2 ofthe United States Sentencing
Commission. Guidelines Mantul (2021) (hereinafter "Sentencing Guidelines." "Guidelines." or
"U.S.S.G."), the Court may also impose a fine that is sufficient to pay the federal government the
costs ofany imprisonment. term ofsupervised release. and period ofprobation. Further, your
client understands that. if your client has two or more convictions for a crime of violence or
felony drug offense, your client may be subject to the substantially higher penalties provided lbr
in the career-offender statutes and provisions ofthe Sentencing Guidelines.

        2.      FactualStinulations

        Your client agrees that the attached ''Statement of Olfense" fairly and accurately
describes your client's actions and involvement in the offense(s) to which your client is pleading
guilty. Please have your client sign and return the Statement ofOffense as a wriften proffer of
evidence, along with this Agreement.

        .i.    Additional Charses

         In consideration ofyour client's guilty plea to the above offense(s), your client will not
be f'urther prosecuted crir:rinally by this Olfice for the conduct set fbfth in the artached Statement
of Otfense. The Government will request that the Court dismiss the remaining counts of the
lndictrrent as to your client in this case at the time ofsentencing. Your client agrees and
acknowledges that the charge(s) to be dismissed at the time of sentencing were based in fact.

        After the entry ofyour client's plea of guilty to the offense identified in paragraph I
above. your client will not be charged with any non-violent criminal offense in violation of
Federal or District olColurnbia law which was committed within the District of Columbia by
your client prior to the execution of this Agreement and about which this Office was made aware
by your client prior to the execution ofthis Agreement. However, the United States expressly
reserves its right to prosecute your client for any crime ofviolence, as defined in l8 U.S.C. Q l6
andlor 22 D.C. Code $ 4501. if in fact your client committed or commits such a crime of
violence prior to or after the execution of this Agreement.

       .1.     ScntencinsGuidelin es Analysis

         Your client understands that the sentence in this case will be determined by the Cou(.
pursuant to the factors set forth in l8 U.S.C. $ 3553(a). including a consideration ofthe
Sentencing Guidelines. Pursuant to l'ederal Rule of Criminal Procedure ll(c)(l)(B), and ro
assist the Court in determining the appropriate sentence, the pa(ies agree to the following:




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                  A.          Estimated Offense Level Under the Guidelines

         The parties agree that the follo*,ing Sentencing Guidelines sections apply:

                  U.S.S.G. $ 2J I   .2            Base Offense Level                         l.l
                  U.S.S.G. $ 2J I   .2(bX2)       Substantial Interference with
                                                  Administration of Justice

                                                                                  Total      t7

         Acceptance ol Responsibility

         The Government agrees that a 2-level reduction will be appropriate. pursuant Io U.S.S.G.
                         your client clearly demonstrates acceptance of responsibility, to the
$ 3 E I .1 . prov ided that
satisfaction ofthe Govemment. through your client's allocution, adherence to every provision of
this Agreement, and conduct between entry ofthe plea and imposition ofsentence. Fufthermore,
assuming your client has accepted responsibility as described in the previous sentence. the
Govemment agrees that an additional l-level reduction will be appropriate, pursuant to U.S.S.G.
g I E L I (b). because your client has assisted authorities by providing timely notice ol your
client's intention to enter a plea of guilty. thereby pennitting the Govemment to avoid preparing
for trial and permitting the Coun to allocate its resources efficiently.

        Nothing in this Agreement limits the right of the Govemment to seek denial of the
adjustment for acceptance of responsibility. pursuant to U.S.S.G. $ 3El. l. and/or imposition of
an adjustment for obstruction of justice, pursuant to U.S.S.G. $ 3C I . I . regardless of any
agreement set forth above, should your client move to withdraw your client's guilty plea after it
is entered, or should it be determined by the Government that your client has either (a) engaged
in conduct, unknown to the Govemment at the time of the signing of this Agreement, that
constitutes obstruction ofjustice. or (b) engaged in additional criminal conduct after signing this
Agreement.

        In accordance with the above. the Estimated Oll'ense Level will be at least l4

                  B.          Estimated Criminal History Category

        Based upon the information now available to this Office, your client has no criminal
convictions.

         Accordingly. your client is estimated to have 0 criminal history points and your clienr's
Criminal History Category is estimated to be I (the "Estimated Criminal History Category").
Your client acknowledges that afier the pre-sentence investigation by the United States Probation
Ot-fice, a different conclusion regarding your client's criminal convictions and/or criminal historv
points may be reached and your client's criminal history points may increase or decrease.




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                C.      Estimated Guidelincs Range

        Based upon the Estimated Offense Level and the Estimated Criminal History Category
set forth above. your client's estimated Sentencing Guidelines range is [5 months to 2l months
(the "Estimated Guidelines Range"). In addition. the parties agree that. pursuant to U.S.S.G. $
5 E I .2, should the Court impose a fine. at Guidelines level I 4, the estimated applicable fine range

is $7,500 to $75,000. Your client reserves the right to ask the Court not to impose any applicable
fine.

        The parties agree that, solely for the purposes ofcalculating the applicable range under
the Sentencing Guidelines. neither a downward nor upward departure from the Estimated
Guidelines Range set ibrth above is warranted. except the Govemment reserves the right to
request an upward departure pursuant to U.S.S.C. $ 3A I .4. n. 4. Except as provided lor in the
"Reservation of Allocution" seclion below, the parties also agree that neither party will seek any
offense-level calculation difl'erent from the Estimated Offense Level calculated above in
subsection A. However, the parties are free to argue for a Criminal History Category different
from that eslimated above irr subsection B.

        Your client understands and acknowledges that the Estimated Guidelines Range
calculated above is not binding on the Probation Office or the Court. Should the Court or
Probation Office determine that a guidelines range different from the Estimated Guidelines
Range is applicable, that will not be a basis lbr withdrawal or recission of this Agreement by
either party.

        Your client understands and acknowledges that the terms ofthis section apply only to
conduct that occurred before the execution of this Agreement. Should your client commit any
conduct after the execution of this Agreement that would lorm the basis for an increase in your
client's base offense level orjustify an upward departure (examples of which include. but are not
limited to. obstruction ofjustice, failure to appear for a court proceeding, criminal conduct while
pending sentencing. and false statements to lau' enforcement agents. the probation o1ficer. or the
Cout). the Covernment is lree under this Agreement to seek an increase in the base oilense level
based on that posl-agreement conduct.

        5.A        reement as to en     nc     AI    ution

        The parties further agree that a sentence within the Estimated Guidelines Range would
constitute a reasonable sentence in light ofall ofthe factors set forth in l8 U.S.C. $ 3553(a), should
such a sentence be subject to appellate review notwithstanding the appeal waiver provided below.
However, the parties agree that either party may seek a variance and suggest that the Court consider
a sentence outside ofthe applicable Guidelines Range. based upon the factors to be considered in
irnposing a sentence pursuant to l8 U.S.C. $ 3553(a).

       6.      Resen'ation of Allocution

        The Govemment and your client reserve the right to describe fully. both orally and in
writing. to the sentencing j udge. the nature and seriousness ofyour client,s misconduct.


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including any misconduct not described in the charges to which your client is pleading guilty. to
inlbrm the presentence report writer and the Court ofany relevant facts. to dispute any factual
inaccuracies in the presentence report. and to contest any matters not provided for in this
Agreement. The parties also reserve the right to address the corectness of any Sentencing
Cuidelines calculations determined by the presentence report w-riter or the court. even ifthose
calculations difl'er from the Estimated Guidelines Range calculated herein. In the event that the
Court or the presentence repoft writer considers any Sentencing Guidelines ad.justments.
depaftures. or calculations different fiom those agreed to and/or estimated in this Agreement. or
contemplates a sentence outside the Guidelines range based upon the general sentencing factors
listed in l8 U.S.C. I 3553(a), the parties reserve the right to answer any related inquiries from
the Court or the presentence report writer and to allocute for a sentence rvithin the Guidelines
range, as ultimately detennined by the Cour1. even if the Guidelines range ultimately determined
by the Court is different from the Estimated Guidelines Range calculated herein.

         ln addition" if in this Agreement the parties have agreed to recommend or refrain from
recommending to the Court a pafticular resolution ofany sentencing issue, the parties reserve the
                                                          -flie
right to full allocution in any post-sentence litigation.       parties retain the full right of
allocution in connection with any     post-sentence motion which may be filed in this matter and/or
arry proceeding(s) befbre the Bureau of Prisons. In addition. vour clienl acknowledges that the
Govenrrnent is not obligated and does not intend to file any post-sentence downward depa(ure
motion in this case pursuant to Rule 35(b) of the Federal Rules of Criminal Procedure.

        7.     Court Not Bound bv this As reement or the Sentencins Guidelines

       Your client understands that the sentence in this case will be imposed in accordance with
l8 U.S.C. $ 3553(a), upon consideration ofthe Sentencing Guidelines. Your client further
understands that the sentence to be imposed is a matter soleiy within the discretion ofthe Court.
Your client acknowledges that the Cou( is not obligated to tbllow any recommendation ofthe
Government at the time olsentencing. Your client understands that neither the Govemment's
recommendation nor the Sentencing Cuidelines are binding on the Court.

        Your client acknowledges that your client's entry ofa guilty plea to the charged off'ense
authorizes the Court to impose any sentence. up to and including the statutory maximum
sentence. which may be greater than the applicable Guidelines range. The Government cannot,
and does not. make any promise or representation as to what sentence your client will receive.
Moreover, it is understood that your client will have no right to withdraw your client's plea of
guilty should the Court impose a sentence that is outside the Guidelines range or if the Court
does not follow the Government's sentencing recommendation. The Government and your client
will be bound by this Agreement, regardless ofthe sentence imposed by the Court. Any effort
by your client to withdraw the guilty plea because ofthe length ofthe sentence shall constitute a
breach o1'this Agreement.

       8.      Conditions of Release

        Your client acknowledges that. although the Govemment \!ill not seek a change in your
client's release conditions pending sentencing, the final decision regarding your client's bond


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status or detention will be made by the Court at the time ofyour client's plea of guilty. The
Govemment may move to change your client's conditions ofrelease, including requesting that
your client be detained pending sentencing, ifyour client engages in further criminal conduct
prior to sentencing or if the Govemmenl obtains information that it did not possess at the time of
your client's plea of guilty and that is relevant to whether your client is likely to flee or pose a
danger to any person or the community. Your client also agrees that any violation ofyour
client's release conditions or any misconduct by your client may result in the Govemment filing
an 9I pA49 motion with the Court requesting that a bench warrant be issued lor your client's
arrest and that your client be detained without bond while pending sentencing in your client's
case-


        9.      Waivers

                :1      Statute of Lim itations

         Your client agrees that" should the conviction following your client's plea of guilty
pursuant to this Agreement be vacated for any reason. any prosecution. based on the conduct set
forth in the attached Statement ofOffense, that is not time-barred by the applicable statute of
limitations on the date ofthe signing of this Agreement (including any counts that the
Government has agreed not to prosecute or to dismiss at sentencing pursuant to this Agreement)
may be commenced or reinstated against your clierrt. notwithstanding the expiration ofthe statute
of limitations between the signing of this Agreement and the commencement or reinstatement of
such prosecution. It is the intent of this Agreement to waive all defenses based on the statute of
limitations with respect to any prosecution ofconduct set fbfth in the attached Statement of
Offense that is not time-bared on the date that this Agreement is signed.

                b.     Trial Rights

          Your client understands that by pleading guilty in this case your client agrees ro waive
 certain rights afforded by the Constitution ofthe United States and/or by stalute or rule. Your
 client agrees to lorego the right to any further discovery or disclosures of information not already
 provided at the time ofthe entry ofyour client's guilty plea. Your client also agrees to waive.
 among other rights. the right to plead nor guilty. and the right to a.iury trial. lfthere were ajury
 trial, your client would have the right to be represented by counsel^ to confront and cross-
 examine witnesses against your client. to challenge the admissibility ofevidence offered against
your client, to compel witnesses to appear for the purpose oltestifying and presenting other
evidence on your client's behalf, and to choose whether to testify. Ifthere were ajury trial and
your client chose not to testiry at that trial. your client would have the right to have thejury
instructed that your client's failure to testify could not be held against your client. your client
would further have the right to have thejury instructed that your client is presumed innocent
until proven guilty. and that the burden would be on the United States to prove your client's guilt
beyond a reasonable doubt. Ifyour client were found guilty after a trial. your client would have
the right to appeal your client's conviction. Your client understands that the Fifth Ar:rendmen! to
the constitution ofthe united states protects your client fiom the use of self'-incriminatins
statements in a criminal prosecurion. By entering a plea ofguilty. your client knox,ingly ind
voluntarily waives or gives up your client's right against self-incrim ination.


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         Your client acknowledges discussing with you Rule I I (f) of the Federal Rules of
Criminal Procedure and Rule 410 of the Federal Rules of Evidence. which ordinarily Iimit the
admissibility of statements made by a defendant in the course of plea discussions or plea
proceedings if a guilty plea is later withdrawn. Your client knowingly and voluntarily waives the
rights that arise under these rules in the event your client withdraws your client's guilty plea or
withdraws from this Agreement after signing it.

        Your client also agrees to waive all constitutional and statutory rights to a speedy
sentence and agrees that the plea of guilty pursuant to this Agreement will be entered at a time
decided upon by the parties with the concurrence ofthe Court. Your client understands that the
date for sentencing will be set by the Court.

               a       Appeal Rights

         Your client agrees to waive. insofar as such waiver is permitted by law. the right to
appeal the conviction in this case on any basis. including but not limited to claim(s) that (1) the
statute(s) to which your client is pleading guilty is unconstitutional, and (2) the admitted conduct
does not fall within the scope ol'the statute(s). Your client understands that federal law.
specitically l8 U.S.C. $ 3742. aflords defendants the right to appeal their sentences in certain
circumstances. Your client also agrees to waive the right to appeal the sentence in this case,
including but not limited to any term of imprisonment. fine, forfeiture. award ofrestitution, term
or condition ofsupervised release. authority ofthe Court to set conditions ofrelease, and the
manner in which the sentence was determined. except to the extent the Court sentences your
client above the statutory maximum or guidelines range determined by the Court. In agreeing to
this waiver. your client is aware that your client's sentence has yet to be determined by the
Court. Realizing the uncertainty in estimating what sentence the Court ultimately will impose,
your client knowingly and willingly waives your client's right to appeal the sentence. to the
extent noted above- in exchange for the concessions made by the Govemment in this Agreement.
Notwithstanding the above agreement to waive the right to appeal the conviction and sentence.
your client retains the right to appeal on the basis ofinel'fective assistance ofcounsel, but not to
raise on appeal other issues regarding the conviction or sentence.

               d.      Collateral Attack

        Your client also waives any right to challenge the conviction entered or sentence imposed
under this Agreement or otherwise attempt to modily or change thc sentence or the manner in
which it was determined in any collateral attack. including. but not limited to. a motion brought
under 28 U.S.C. $ 2255 or Federal Rule of Civil Procedure 60(b), except ro the extenr such a
motion is based on newly discovered evidence or on a claim that your client received ineffective
assistance ofcounsel. Your client reserves the right to file a motion brought under l8 u.s.c.
$ 3s 82(c)(2).




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                 c      Hearings by Video Teleconference and/or Teleconferencc

          Your client agrees to consent. under the CARES Act. Section 15002(bX4) and otherwrse.
 to hold any proceedings in this malter - specifically including but not limited to presentment,
 initial appearance, and status hearings - by video teleconference and/or by teleconference and to
 waive any rights to demand an in-person/in-Court hearing. Your client further agrees to not
 challenge or contest any findings by the Court that it may properly proceed by video
teleconferencing and/or telephone conferencing in this case because, due to the COVID-19
 pandemic. an in-person/in-Court hearing cannot be conducted in person without seriously
jeopardizing public health and saf'ety and that further there are specific reasons in this case that
 any such hearing, cannot be further delayed without serious harm to the interests ofjustice. Your
 client understands. however, that pursuant to the CARES Act. as well as the ChiefJudge's
 Standing Order No. 22-64 (BAH) (Novernber 9, 2022), plea and sentencing hearings must be
 conducted in-person. Additionally. your client understands that Standing OrderNo. 22-64 will
 govem such authorizations.

        10. Use of Self-Incrinr inating Information
         The Government and your client agree, in accordance with U.S.S.C. $ 1B 1.8, that the
Govemment will be free to use against your client for any purpose at the sentencing in this case
or in any related criminal or civil proceedirrgs, any self-incriminating inforrnation provided by
your client pursuant to this Agreement or during the course ofdebriefings conducted in
anlicipation ofthis Agreement, regardless ofwhether those debriefings were previously covered
by an "offthe record" agreement by the parties.

        II   .   Restitution

       Your client understands that the Court has an obligation to determine whether, and in
what amount restitution applies in this case. Your client agrees to pay restitution pursuant to l8
u.S.C. $ 3663(a)(3).

        Your client acknowledges that the riot that occurred on January 6, 2021, caused as of
October I 4, 2022. approximately $2,881 ,360.20 damage to the United States Capitol. Your
client agrees as part ofthe plea in this matter to pay restitution to the Architect ofthe Capitol in
the amount of $2,000.

        Payments of restitution shall be made to the Clerk ofthe Court. ln order to facilitate the
collection of finarrcial obligations to be imposed in connection with this prosecution, your client
agrees to disclose f'ully all assets in which your client has any interest or over which your client
exercises control, directly or indirectly, including those held by a spouse. nominee or other third
party. Your client agrees to submit a completed financial statement on a standard financial
disclosure form which has been provided to you with this Agreement to the Financial Litigation
Unit ofthe United States Attomey's office, as it directs. Ifyou do not receive the disclosure
form, your client agrees to request one from usadc.ecfflu@usa.doj.gov. your client will
complete and electronically provide the standard financial disclosure form to
usadc.ecfFlu@usa.doj.gov 30 days prior to your client's sentencing. your client agrees to be


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contacted by the Financial Litigation Unit of the United States Attomey's Office. through
def'ense counsel. to complete a financial statemenl. Upon review, if there are any follow-up
questions. your client agrees to cooperate with the Financial Litigation Unit. Your client
promises that the financial statement and disclosures will be complete. accurate and truthful- and
understands that any willful falsehood on the financial statement could be prosecuted as a
separate crime punishable under I 8 U.S.C. $ I 001 , which carries an additional five years'
incarceration and a fine.

        Your client expressly authorizes the United States Attorney's Office to obtain a credit
report on your client in order to evaluate your client's ability to satisry any financial obligations
imposed by the Couft or agreed to herein.

         Your client understands and agrees that the restitution or fines imposed by the Court will
be due and payable immediately and subject to immediate enforcement by the United Slates. If
the Court imposes a schedule ofpayments, your client understands that the schedule of payments
is merely a minimum schedule of payments and will not be the only method. nor a limitation on
the rnethods, available to the United States to enforce the criminal judgment, including without
limitation by administrative oflfset. lfyour client is sentenced to a term of imprisonment by the
Court. your client agrees to pa(icipate in the Bureau ofPrisons' tnmate Financial Responsibilitl
Program, regardless ofwhether the Court specifically imposes a schedule ofpayments.

        Your client certifies that your client has made no transfer ofassets in contemplation of
this prosecution for the purpose ofevading or defeating financial obligations that are created by
this Agreement and/or that may be imposed by the Court. In addition. your client promises to
make no such transf'ers in the future until your client has fulfilled the financial obligations under
this Agreernent.

        12. Breach of Agreement
         Your client understands and agrees that. if after entering this Agreement. your client fails
 specifically to perfbnn or to l'ulfill completely each and every one ofyour client's obligations
 under this Agreement" or engages in any criminal activity prior to sentencing. your client will
 have breached this Agreement. [n the event ofsuch a breach: (a) the Government will be free
 from its obligations under this Agreement; (b) your client will not have the right to withdraw the
guilty plea; (c) your client will be fully sub.iect to criminal prosecution fbr any other crimes.
 including perjury and obstruction ofjustice: and (d) the Govemment will be iree to use against
your client, directly and indirectly, in any criminal or civil proceeding. all statements maJe bv
your client and any ofthe infbrmation or materials provided by your client. including such
statements. information and materials provided pursuant to this Agreement or during the course
of any debriefings conducted in anticipation of, or after entry of, this Agreement" wf,ether or not
the debriefings were previously characterized as "off-the-record" debriefings. and including your
client's statements made during proceedings before the Court pursuant to Rule I I olthe Federal
Ru les of Criminal Procedure.


       Your client understands and agrees that the Government shall be required to prove a
breach of this Agreement only by a preponderance ofthe evidence, except where
                                                                                suih breach is

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based on a violation offederal, smte, or local criminal law. which the Government need prove
only by probable cause in order to establish a breach of this Agreement.

        Nothing in this Agreement shall be construed to permit your client to commit perjury. to
make false statements or declarations. to obstruct.iustice. or to protect your client from
prosecution for any crimes not included within this Agreement or committed by your client after
the execution of this Agreement. Your client understands and agrees that the Covemment
reserves lhe right to prosecute your client for any such offenses. Your client further understands
that any perjury, false statements or declarations. or obstruction ofjustice relating to your client's
obligations under this Agreement shall constitute a breach of this Agreement. ln the event of
such a breach, your client will not be allowed to withdraw your client's guilty plea.

        13.    Comnlcte Agreement

        No agreements, promises, understandings, or representations have been made by the
parties or their counsel other than those contained in writing herein, nor will any such
agreements. promises, understandings. or representations be made unless committed to writing
and signed by your client, defense counsel, and an Assistant United States Attomey for the
District ol Columbia.

        Your client further understands that this Agreement is binding only upon the Criminal
and Superior Court Divisions olthe United States Attomey's Olfice for the District of Columbia.
This Agreement does not bind the Civil Division olthis Office or any olher United States
Attomey's Office, nor does it bind any other state, local, or federal prosecutor. lt also does not
bar or compromise any civil. tax. or administrative claim pending or that may be made against
your client.

        Ifthe foregoing terms and conditions are satisfactory, your client may so indicate by
signing this Agreement and the Statement ofOffense, and returning both to me no later than
February 23,2023.

                                                      Sincerely yours.




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                                                          w Ci*i[@
                                                      Matthew
                                                      I In ited States Arrornev




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                                                      A ssistant United States Allomer




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